Case 2:20-cv-00647-DBB-JCB Document 63 Filed 01/17/24 PageID.643 Page 1 of 6




Matthew D. Hardin (pro hac vice)
HARDIN LAW OFFICE
1725 I Street NW, Suite 300
Washington, DC 20006
Telephone: (202) 802-1948
Email: MatthewDHardin@gmail.com
Attorney for Defendants

                     THE UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH

 RUSSELL GREER,                                MOTION FOR A MORE DEFINITE
                                               STATEMENT
       Plaintiff,
 v.                                            Case No. 2:20-cv-00647-DBB


 JOSHUA MOON, et al.                           District Judge David Barlow
                                               Magistrate Judge Cecilia M. Romero
       Defendant.



       NOW COME the Defendants, and move that the Plaintiff be required to provide

 a more Definite Statement, as set forth in the attached Memorandum of Law.

      DATED January 17, 2024

                                       HARDIN LAW OFFICE

                                       /s/ Matthew D. Hardin
                                       Matthew D. Hardin
                                       Attorney for Defendants
Case 2:20-cv-00647-DBB-JCB Document 63 Filed 01/17/24 PageID.644 Page 2 of 6




Matthew D. Hardin (pro hac vice)
HARDIN LAW OFFICE
1725 I Street NW, Suite 300
Washington, DC 20006
Telephone: (202) 802-1948
Email: MatthewDHardin@gmail.com
Attorney for Defendants

                        THE UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH

 RUSSELL GREER,                                      MEMORANDUM OF LAW IN
                                                     SUPPORT OF MOTION FOR A
        Plaintiff,                                   MORE DEFINITE STATEMENT
 v.                                                  Case No. 2:20-cv-00647-DBB


 JOSHUA MOON, et al.                                 District Judge David Barlow
                                                     Magistrate Judge Cecilia M. Romero
        Defendant.



        NOW COME the Defendants, by and through their undersigned counsel, and

 file this Memorandum of Law in Support of their Motion for a More Definite Statement

        I.      Introduction

       As best as undersigned counsel can determine, this is an action for purported

contributory copyright infringement. Yet the Complaint in this matter is replete with

paragraphs alleging unclear actions by unspecified actors. The ambiguity in the

Complaint prejudices the Defendants and makes it difficult for them to respond to

allegations which cannot be readily understood, and this Court should therefore order

the Plaintiff to file a more definite statement of his claims as set forth herein.

        II.     Standard of Review

       A party is entitled to a more definite statement under Rule 12(e) when the

complaint is "so vague or ambiguous that the party cannot reasonably prepare a
Case 2:20-cv-00647-DBB-JCB Document 63 Filed 01/17/24 PageID.645 Page 3 of 6




response." Fed. R. Civ. P. 12(e). Motions for a more definite statement "are properly

granted only when a party is unable to determine the issues" to which he must

respond. Resolution Tr. Corp. v. Thomas, 837 F. Supp. 354, 356 (D. Kan. 1993); see

also Smith v. Swift Transp., Co., No. 13-2247-RDR, 2013 U.S. Dist. LEXIS 144542,

2013 WL 5551804, at *3 (D. Kan. Oct. 7, 2013) (granting Rule 12(e) motion in part

because "framing a response to the plaintiff's complaint would be extremely difficult").

A court shouldn't grant a motion for a more definite statement "merely because the

pleading lacks detail;" instead, the court should determine "whether the claims alleged

are sufficiently specific to enable a responsive pleading in the form of a denial or

admission." Advantage Homebuilding, LLC v. Assurance Co. of Am., No. 03-2426-

KHV, 2004 U.S. Dist. LEXIS 3595, 2004 WL 433914, at *1 (D. Kan. Mar. 5, 2004).

        III.   Argument

       In this case, the Complaint was initially dismissed for failure to state a claim.

While the Tenth Circuit partially reversed this Court’s prior determination that Mr. Greer

had failed to state a valid cause of action, both courts have relied upon the liberal

pleading standard that applies to pro se litigants in order to rule. Now that this case

involving such an amorphous pro se Complaint has been remanded, it is more

important than ever that the Plaintiff clarify what precisely are his grounds for relief.

       In the interest of judicial economy, and to illustrate the difficulty that Defendants

face in deciphering and responding to the Complaint, Defendants will momentarily

protectively file an Answer in this case without waiving their objections as to the

adequacy or sufficiency of the Complaint. To preserve judicial resources, rather than

detailing each inadequate allegation here and detailing the reasons such allegations

are inadequate, Defendants have included in each numbered paragraph of their
Case 2:20-cv-00647-DBB-JCB Document 63 Filed 01/17/24 PageID.646 Page 4 of 6




Answer an appropriate objection that a more definite statement is required. Defendants

here highlight, by way of example only, a select few of the Plaintiffs’ allegations in his

Complaint which lack clarity. Defendants assert that these examples are emblematic of

the broader failures of the Complaint to identify its allegations with sufficient specificity

that the Defendants can adequately respond.

       ¶ 52 of the Plaintiff’s Complaint alleges with reference to Defendants purported

contributory infringement of a copyright that “On April 15th, 2019, Greer was informed

that his song had been put onto Kiwi Farms, a routine those users have been diligent

about, and an uncomfortable reality Greer has had to cope with.” But the Plaintiff does

not explain who took any particular action in this paragraph. A purportedly copyrighted

song was “put onto kiwi farms,” but the Plaintiff does not specify what party or non-

party may have taken this action or why such individual should not be held responsible

for his or her own conduct or why such an individual was not joined to this lawsuit. Nor

does the Defendant explain where the song was “put.” This paragraph explains that

“those users” have a routine, but does not explain who the relevant “users” are or what

the relevant “routine” is. The Plaintiff has thus put the Defendants in a situation where

they are called upon to defend themselves against an allegation that unknown

individuals engaged in an unspecified routine. Such an amorphous allegation cannot

reasonably be countered.

       ¶ 67 of the Plaintiff’s Complaint repeats these errors and introduces more. In it,

Mr. Greer alleges “These users began telling Plaintiff that his song was horrible and

that they had distributed the song elsewhere.” This paragraph thus appears to state

both that the Plaintiff is aware of “these users” disdain for his song, perhaps indicating

that the song had no commercial value, and also that “these users” had purportedly
Case 2:20-cv-00647-DBB-JCB Document 63 Filed 01/17/24 PageID.647 Page 5 of 6




violated the copyright “elsewhere.” Plaintiffs appears to suggest that he is personally

aware from direct communications what “users” stated the song was horrible, and what

users purportedly violated the copyright “elsewhere.” Perhaps Plaintiff even knows

where specifically his copyrights have been violated, such that Defendants and this

Court can attempt to calculate any alleged damages that may relate not to actions of

the Defendants but to actions “elsewhere.” But the Plaintiff leaves it to the imagination

who these users are or where else his song may have been distributed, and deprives

Defendant of any opportunity to establish that damages are lacking or that third parties

may be liable or susceptible to joinder.

       ¶ 74 repeats this same theme. In that paragraph, Mr. Greer alleges that “They

have inundated Greer’s works with hate and have engaged in hate sprees to prevent

anybody from buying Greer’s song or book.” To the extent that this paragraph attempts

to show damages from any alleged copyright infringement and that somebody is

responsible for such damages, the Plaintiff has not explained who “they” are. Nor has

the Plaintiff explained what a “hate spree” is and whether the purported “hate spree” is

related to any infringement or how such a “hate spree” harmed the commercial viability

of any copyright.

       The above cited paragraphs are cited as examples only, but they illustrate a

broader trend in the Complaint. It is largely indecipherable, such that at least four

separate judges have now read it and reached two separate opinions as to whether a

claim has even been stated. Assuming, arguendo and in light of the Tenth Circuit’s

ruling, that some valid claim has been stated in the Plaintiff’s Complaint, it is

nevertheless incumbent upon the Plaintiff to explain who did what that gave rise to

such a cause of action. The Plaintiff cannot rely on unspecified claims that “users” or
Case 2:20-cv-00647-DBB-JCB Document 63 Filed 01/17/24 PageID.648 Page 6 of 6




“they” harmed him, and he cannot rely on vague allegations that there is a “routine” or

a “hate spree” being undertaken to target his copyrights. The Defendants cannot

intelligently Answer such claims, and the Court should therefore require a more definite

statement.

        IV.    Conclusion

       The Court should grant the Motion for a More Definite Statement, and require

Plaintiff to file such a more definite statement with respect to each paragraph in the

Answer which requests such a statement.

       DATED January 17, 2024

                                          HARDIN LAW OFFICE

                                          /s/ Matthew D. Hardin
                                          Matthew D. Hardin
                                          Attorney for Defendants


                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed via CM-ECF
this 17th day of January, 2024, which provided service upon all counsel of record.
Additionally, I mailed a copy of the foregoing to the Plaintiff, who has now confirmed to
me that he is acting pro se, at:

                                   Russell Greer
                                   P.O. Box 46602
                                   Las Vegas, NV 89114

                                          /s/ Matthew D. Hardin
                                          Matthew D. Hardin
